      Attorney or Party without Attorney:     Case 3:22-mc-80072-SK Document 7 Filed 06/07/22 PageFOR
                                                                                                   1 COURT
                                                                                                      of 1 USE ONLY
         Paul L. Hoffman, SBN: 71244
         SCHONBRUN SEPLOW HARRIS HOFFMAN & ZELDES
         200 Pier Avenue - Suite 226
         Hermosa Beach, CA 90254                                                                           E-MAIL ADDRESS (Optional):
      TELEPHONE No.:                                                         FAX No. (Optional):

      Attorney for:   Plaintiff
                                                                                                   Ref No. or File No.:
                                                                                                            Suraju v Yahoo
      Insert name of Court, and Judicial District and Branch Court:

         UNITED STATES DISTRICT COURT - Northern District of California

         Plaintiff:   OLANREWAJU SURAJU, et al
     Defendant:       YAHOO!, et al

                                                                       HEARING DATE:                          TIME:           DEPT.:    CASE NUMBER:

            PROOF OF SERVICE                                                                                                                       3:22-mc-80072-SK


    AT THE TIME OF SERVICE I WAS AT LEAST 18 YEARS OF AGE AND NOT A PARTY TO THIS ACTION
    I SERVED COPIES OF THE FOLLOWING DOCUMENTS:

      ORDER SETTING BRIEFING SCHEDULE AND REQUIRING SERVICE


                          PARTY SERVED:                    YAHOO!, INC.
                       PERSON SERVED:                      DAISY MONTENEGRO - c/o CT CORPORATION SYSTEM (Registered Agent -
                                                           Authorized to Accept)
   DATE & TIME OF DELIVERY:                                5/25/2022
                                                           12:52 PM
 ADDRESS, CITY, AND STATE:                                 330 NORTH BRAND BOULEVARD - SUITE 700
                                                           GLENDALE, CA 91203

MANNER OF SERVICE:
  Personal Service - By personally delivering copies.




    Fee for Service: $ 208.15                                                                         I declare under penalty of perjury under the laws of the
            County: Los Angeles                                                                       The State of California that the foregoing information
            Registration No.: 6461                                                                    contained in the return of service and statement of
            ProLegal Reg#: 2017025418                                                                 service fees is true and correct and that this declaration
            P.O. Box 54846                                                                            was executed on March 25, 2022.
            Los Angeles, CA 90054
            (888) 722-6878
            Ref: Suraju v Yahoo
                                                                                                      Signature:
                                                                                                                                    Gustavo Gonzalez

                                                                        PROOF OF SERVICE
982(a)(23)[New July 1, 1987]                                                                                                                                Order#: 3089275/General
